    6:23-cv-00146-JFH-GLJ        Document 54         Filed in ED/OK on 06/30/23          Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF OKLAHOMA

THOMAS JESSE WARD,                                     )
                                                       )
               Petitioner,                             )
                                                       )
v.                                                     )           Case No. CIV-23-146-JFH-GLJ
                                                       )
DAVID BUSS, Warden,                                    )
                                                       )
               Respondent.                             )

        PRE-ANSWER MOTION TO DISMISS PETITION FOR WRIT OF HABEAS
          CORPUS AS TIME-BARRED BY THE STATUTE OF LIMITATIONS

        Comes now Respondent, by and through the Attorney General of the State of Oklahoma,

and respectfully asks that the instant Petition for Writ of Habeas Corpus Under 28 U.S.C. § 2254

be dismissed as it is untimely filed, pursuant to 28 U.S.C. § 2244(d). Respondent has filed a Brief

in Support of this Motion, which is being filed simultaneously herewith, and which more fully

explains and supports Respondent’s position. 1

        Wherefore, for the reasons contained within Respondent’s Brief in Support, Respondent

respectfully requests that this Court dismiss the instant Petition as it is time-barred by the statue of

limitations.




1
  This Court’s Order calling for a response expressly states the following: “As an alternative to
filing a Rule 5 answer, Respondent may file within thirty (30) days a motion to dismiss based upon
28 U.S.C. § 2241, 28 U.S.C. § 224[4], 28 U.S.C. § 2254, or other applicable statute.” Doc. 41. In
the event this Court denies this Motion to Dismiss—as well as Respondent’s Motion to Dismiss
Petition as Unexhausted—Respondent respectfully requests permission to file a response on the
merits.
6:23-cv-00146-JFH-GLJ   Document 54       Filed in ED/OK on 06/30/23   Page 2 of 3




                                  Respectfully submitted,
                                  GENTNER F. DRUMMOND
                                  ATTORNEY GENERAL OF OKLAHOMA

                                  s/ Theodore M. Peeper
                                  THEODORE M. PEEPER, OBA #19909
                                  ASSISTANT ATTORNEY GENERAL

                                  s/ Joshua R. Fanelli
                                  JOSHUA R. FANELLI, OBA #33503
                                  ASSISTANT ATTORNEY GENERAL
                                  OKLAHOMA ATTORNEY GENERAL’S OFFICE
                                  313 N.E. 21st Street
                                  Oklahoma City, Oklahoma 73105
                                  (405) 521-3921       FAX (405) 522-4534
                                  Service email: fhc.docket@oag.ok.gov

                                  ATTORNEYS FOR RESPONDENT




                                      2
 6:23-cv-00146-JFH-GLJ            Document 54       Filed in ED/OK on 06/30/23    Page 3 of 3




                                  CERTIFICATE OF SERVICE

      X       I hereby certify that on June 30, 2023, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing.

      X       I hereby certify that on June 30, 2023, I electronically transmitted the attached
document to the following ECF registrants using the ECF System for filing:

       Mark H. Barrett, OBA #557
       P.O. Box 896
       Norman, Oklahoma 73070

       Daniel G. Webber, Jr., OBA #16332
       400 North Walnut Avenue
       Oklahoma City, Oklahoma 73104

       Gregory Swygert (pro hac vice)
       375 East Chicago Avenue
       Chicago, Illinois 60611

       Robert N. Hochman (pro hac vice)
       David H. Hoffman (pro hac vice)
       John G. Levi (pro hac vice)
       Emily Scholtes (pro hac vice)
       Matthew Binder (pro hac vice)
       William Lawrence (pro hac vice)
       1 South Dearborn
       Chicago, Illinois 60603


       Attorneys for Petitioner


                                                            s/ Theodore M. Peeper
                                                            Assistant Attorney General




                                                3
